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                           EXHIBIT A




Motion for leave to file Amicus
BY WGR & AFA
No. 3:23-cv-05364-RJB
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                                                    THE HONORABLE ROBERT J. BRYAN

                                  UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA

    LAWRENCE HARTFORD, et al.,        No. 3:23-cv-05364-RJB
                           PLAINTIFF,
                                             BRIEF AMICI CURIAE OF
    vs.                                WASHINGTON GUN RIGHTS AND
                                           THE AMERICAN FIREARMS
    BOB FERGUSON, et al.                           ASSOCIATION
                         DEFENDANTS.      IN SUPPORT OF PLAINTIFFS’
                                         MOTION TO FOR PRELIMNARY
                                                   INJUNCTION

1                           I.   CORPORATE DISCLOSURE STATEMENT

2           Washington Gun Rights and the American Firearms association have no

3   parent corporations nor do they issue any stock, so no publicly held corporation holds

4   any stock in the organizations.

5           There is no parent, shareholder, member, or partner to identify as required by

6   Local Rules W.D. Wash. LCR 7.1(a)(1).

7                                 II.   INTEREST OF AMICI CURIAE

8           Washington Gun Rights is a nonprofit organized under section 501(c)(4) of the

9   Internal Revenue Code. WGR is dedicated to preserving Washingtonians’ Second




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 1   Amendment rights through advocacy, legislative action, and participating in

 2   important cases before the courts.

 3           The American Firearms Association is a nonprofit organized under section

 4   501(c)(4) of the Internal Revenue Code. The AFA seeks to preserve Second

 5   Amendment rights around the nation and therefore opposes Washington’s attempt to

 6   ban arms protected by the Second Amendment.

 7           The current case interests WGR and AFA because Washington has attempted

 8   to ban commonly owned firearms that are protected by the Second Amendment.

 9                           III.   SUMMARY OF ARGUMENT

10           In New York State Rifle and Pistol Association v. Bruen, the Supreme Court

11   clarified that the “Second Amendment protects the possession and use of weapons

12   that are ‘in common use.’” N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct.

13   2111, 2128 (2022) (quoting District of Columbia v. Heller, 554 U.S. 570, 627 (2008)).

14   While some disagree with policies that allow law-abiding citizens to own common

15   firearms, the Second Amendment “elevates above all other interests the right of law-

16   abiding, responsible citizens to use arms for self-defense.” Id. at 2131. Until the

17   Constitution is duly amended, courts are obliged to give constitutional text, history,

18   and tradition proper weight.

19           Despite the Court’s clear holding in Bruen, Washington has joined other states

20   in trying to ban so-called “assault weapons”—better termed “modern sporting rifles”

21   (MSRs)—even though Washingtonians have been responsibly using those weapons




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 1   for decades. This prohibition clearly goes against the holding in Bruen, and this Court

 2   should grant the preliminary injunction requested by the Plaintiffs.

 3           A preliminary injunction is a remedy that “preserves the status quo pending a

 4   determination of the action on the merits.” Chalk v. U.S. Dist. Ct. C.D. Cal., 840 F.2d

 5   701, 704 (9th Cir. 1998). On constitutional questions where violations of

 6   constitutional rights are at issue, a preliminary injunction is an important remedy to

 7   prevent citizens from being denied their constitutional rights for even a short time.

 8   By including the right to keep and bear arms in the Constitution, the Framers showed

 9   which interests get priority when a law bans commonly owned firearms.

10           Amici are two gun rights groups that are concerned with how brazenly

11   Washington’s law violates the Second Amendment and the Court’s decision in Bruen.

12   The banned weapons are clearly “arms” and thus presumptively protected by the text

13   of the Second Amendment. Bruen, 142 S. Ct. at 2126. Until Washington’s ban, the

14   semiautomatic rifles at issue were overwhelmingly purchased by law-abiding citizens

15   for self-defense, target shooting, hunting, and defense against oppressive

16   government. In fact, nationwide, there are more MSRs in private hands than there

17   are Ford F-Series pickups on the streets, one of the most popular cars in the country.

18   Kolbe v. Hogan, 813 F.3d 160, 174 (4th Cir. 2016) rev’d, 849 F.3d 114 (4th Cir. 2017)

19   (en banc) (“in 2012, the number of AR- and AK-style weapons manufactured and

20   imported into the United States was more than double the number of Ford F-150

21   trucks sold, the most commonly sold vehicle in the United States.”). And almost none

22   of those MSRs are being used for crime.



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 1            MSRs were (and are) normal, everyday rifles until they were re-christened

 2   “assault weapons” to sound more menacing. The term is often linked to a 1988 paper

 3   by gun-control activist Josh Sugarmann of the Violence Policy Center. Sugarmann

 4   felt the incendiary term, coupled with public ignorance, could increase support for

 5   banning the weapons: “The weapons’ menacing looks, coupled with the public’s

 6   confusion over fully automatic machine guns versus semi-automatic assault

 7   weapons—anything that looks like a machine gun is assumed to be a machine gun—

 8   can only increase the chance of public support for restrictions on these weapons.”

 9   Aaron Blake, “Is it fair to call them ‘assault weapons’?,” Wash. Post (Jan. 17, 2013),

10   https://perma.cc/8HCC-FZGK. Inventing a term like “assault weapon” and then

11   applying it to an ad hoc group of weapons does not change the Second Amendment’s

12   scope.

13            Like many other states that ban MSRs, the Washington law bans some

14   weapons by name and others by characteristics. The characteristics singled out,

15   however, do not make the banned guns any less commonly used for lawful purposes,

16   nor do they make the weapons “dangerous and unusual.” Bruen, 142 S. Ct. at 2128

17   (quoting Heller, 554 U.S. at 627); see also Caetano v. Massachusetts, 577 U.S. 411,

18   417 (2016) (Alito, J., concurring in the judgment) (explaining that the test is

19   conjunctive and “[a] weapon may not be banned unless it is both dangerous and

20   unusual.”). That millions of Americans use the banned weapons for lawful purposes

21   sufficiently demonstrates that Washington’s ban cannot be sustained under the

22   Second Amendment and the Supreme Court’s precedents.



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 1            Because Washington’s law flouts current doctrine, the Plaintiffs are likely to

 2   win on the merits. And because this is a constitutional case, the equities clearly weigh

 3   in Plaintiffs’ favor. The Court should grant the preliminary injunction.

 4                                     IV.   ARGUMENT

 5       I.      The Bruen Decision Presumptively Protects “Arms,” Which
 6               Unquestionably Includes So-Called “Assault Weapons” or “Modern
 7               Sporting Rifles,” the Type of Rifles Singled-Out by Washington’s
 8               Ban

 9            Washington has tried to ban commonly owned firearms that are presumptively

10   protected by the Second Amendment and overwhelmingly used for lawful purposes.

11   That ban is unconstitutional under the standards articulated by the Supreme Court.

12   See, Heller, 554 U.S. at 625 (holding that the Second Amendment protects arms

13   “typically possessed by law-abiding citizens for lawful purposes.”).

14            Bruen adopted a text-first approach that is informed by history and tradition.

15   Bruen, 142 S. Ct. at 2134–35. “[W]hen the Second Amendment’s plain text covers an

16   individual’s conduct, the Constitution presumptively protects that conduct.” Bruen,

17   142 S. Ct. at 2129; id. at 2132 (“the Second Amendment extends, prima facie, to all

18   instruments that constitute bearable arms, even those that were not in existence at

19   the time of the founding.”) (quoting Heller, 554 U.S. at 582). Thus, under Bruen, a

20   court should first look to whether something is an “arm,” and subsequent analysis

21   looks to history and tradition to determine which type of regulations “are consistent

22   with the Nation’s historical tradition of firearm regulation.” Id. at 2129–30.

23            Unlike some difficult-to-interpret constitutional terms, the definition of

24   bearable “arms” is straightforward. For example, the term does not include F-16



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 1   fighter jets because no one can “bear” a fighter jet. And the amendment’s definition

 2   of “arms” is no more restricted to 18th-century weapons than the First Amendment’s

 3   definition of “speech” is restricted to parchment, town criers, and movable-type

 4   printing. “[E]ven though the Second Amendment’s definition of ‘arms’ is fixed

 5   according to its historical understanding, that general definition covers modern

 6   instruments that facilitate armed self-defense.” Bruen, 142 S. Ct. at 2132 (citing

 7   Caetano, 577 U. S. at 411–412 (per curiam) (stun guns)). The relevant question is

 8   whether a given “arm” is a bearable “modern instrument[] that facilitate[s] armed

 9   self-defense.” Id. If the answer to that question is “yes,” then a court should presume

10   that the arm is protected and look to history and tradition to determine whether the

11   arm can nevertheless be banned.

12           Some bearable arms can be prohibited because the Second Amendment doesn’t

13   guarantee “a right to keep and carry any weapon whatsoever in any manner

14   whatsoever and for whatever purpose.” Heller, 554 U.S. at 626; see also Bruen, 142

15   S. Ct. at 2132, 2143. When such “arms” can be prohibited depends on history and

16   tradition to overcome the textual threshold: “bearable arms” are “presumptively

17   protect[ed].” Id.

18           It is beyond reasonable argument that MSRs are bearable arms presumptively

19   protected by the Second Amendment. Millions of Americans, and an untold number

20   of Washingtonians, keep and bear these arms for lawful purposes. See, infra, Part II.

21   The weapons’ “bearability” is a significant reason why so many Washingtonians

22   prefer to use them for lawful purposes rather than other, more cumbersome guns.



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 1   Stephen P. Halbrook, America’s Rifle: The Case for the AR-15, 8 (2022) (“They are

 2   particularly attractive for women and older individuals because of their light weight

 3   and ease of use, particularly in comparison to shotguns.”). The average “starting

 4   weight” for an unloaded AR-15 is around 6.4 lbs—7 lbs with a loaded 30-round

 5   magazine. Everyday Marksman, “Deal With Compromise: AR-15 Weight, Capability,

 6   and Balance,” (Feb. 8, 2022), https://perma.cc/B8Y4-JHFC. By contrast, an M1

 7   Garand, the semiautomatic rifle that was the standard-issue weapon for American

 8   troops in World War II—a literal “weapon of war,” as detractors often erroneously

 9   describe MSRs—weighs 9.5 lbs unloaded and around 11 lbs loaded.

10             Because MSRs are clearly “presumptively protect[ed]” by the Second

11   Amendment, the Court should next look to whether such weapons are “typically

12   possessed by law-abiding citizens for lawful purposes.” Heller, 554 U.S. at 625.

13       II.      “Modern Sporting Rifles” or “Assault Weapons” Are Standard
14                Semiautomatic Rifles that Are Commonly Used for Self Defense
15                and Other Lawful Purposes and Are Thus Protected by the Second
16                Amendment

17             Given that MSRs are clearly “arms” that are presumptively protected by the

18   Second Amendment’s text, the next question is whether banning such arms is

19   “consistent with this Nation’s historical tradition of firearm regulation.” Bruen, 142

20   S. Ct. at 2132. The “Second Amendment protects only the carrying of weapons that

21   are those ‘in common use at the time’” and doesn’t protect arms that are “highly

22   unusual in society at large.” Id. at 2143 (quoting Heller, 554 U.S. at 627). By any

23   metric, MSRs are standard semiautomatic rifles that are “typically possessed by law-

24   abiding citizens for lawful purposes.” Heller, 554 U.S. at 625.



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 1       A. The Semiautomatic Rifles Singled Out by Washington’s Ban Are Used
 2          by Millions of Americans for Lawful Purposes

 3           Washingtonians have long used the banned guns for lawful purposes. It is

 4   irrelevant that such guns are arguably “new” or that the arms are different than those

 5   that were commonly used at the time of the ratification of the Second Amendment.

 6   Caetano, 577 U.S. at 420 (Alito, J., concurring in the judgment) (“[T]he pertinent

 7   Second Amendment inquiry is whether stun guns are commonly possessed by law-

 8   abiding citizens for lawful purposes today.”). The common nature of these weapons

 9   was pointed out by Justice Thomas in 2015: “The overwhelming majority of citizens

10   who own and use such rifles do so for lawful purposes, including self-defense and

11   target shooting. Under our precedents, that is all that is needed for citizens to have

12   a right under the Second Amendment to keep such weapons.” Friedman v. City of

13   Highland Park, 136 S. Ct. 447, 449 (2015) (Thomas, J., dissenting from the denial of

14   certiorari).

15           Amici have been unable to find data specifically for how many MSRs are owned

16   by Washingtonians. It is unlikely such granular data exists because there is no gun

17   registry and Americans (and Washingtonians) often don’t want the government to

18   know what arms they own, which only underscores the difficulty of enforcing a ban

19   like Washington’s. But nationwide surveys estimate that there are more than 24.4

20   million MSRs in the country. National Shooting Sports Foundation, Commonly

21   Owned: NSSF Announces Over 24 Million MSRs in Circulation, (July 20, 2022) (“the

22   firearm industry trade association, updated the industry estimate of Modern Sporting

23   Rifles (MSRs) in circulation in the United States to 24,446,000 since 1990. That is an


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 1   increase of over 4.5 million rifles since the last estimate was released in 2020.”),

 2   https://perma.cc/2LX6-UN3B. As mentioned, that’s more than the number of Ford F-

 3   Series pickup trucks on the road, which is the second most popular car in the country.

 4   Id; Chase Gardner, “The Most Popular Cars in America (2022),” Insurify (Apr. 5,

 5   2022), https://perma.cc/D4A3-934L.

 6           According to one survey, “[i]n 2021, 75 percent of those who shot a center-fire

 7   rifle shot an MSR[,]” and of “the 66 percent who hunted with a center-fire rifle, 60

 8   percent used an MSR.” Halbrook, America’s Rifle, supra at 1. In general,

 9   semiautomatic rifles that accept detachable magazines have been commonplace in

10   America for at least a century. Id. at 2. It wasn’t until the rhetorical category of

11   “assault weapons” was invented in the late 1980s that there was any concerted effort

12   to ban these commonly owned firearms. Id.

13           Washington’s Governor Jay Inslee claimed that the banned weapons “have no

14   reason other than mass murder,” and their “only purpose is to kill humans as rapidly

15   as possible in large numbers.” Jeff Zymeri, “Washington Governor Signs AR-15 Ban:

16   ‘No    Reason      Other   Than   Mass   Murder,’”       Yahoo.com         (Apr.    25,      2023),

17   https://perma.cc/T3JF-B3AB. That would come as a surprise to people like Zack

18   Peters, an Oklahoma man who used an AR-15 to defend his home against three home

19   invaders. Avalon Zoppo, “Oklahoma Man Uses AR-15 to Kill Three Teen Home

20   Intruders,” NBCNews.com (Mar. 28, 2017), https://perma.cc/RX8B-6A7S. Or a

21   pregnant woman in Florida who defended her home and her husband with an AR-15.

22   David K. Li, “Pregnant woman uses AR-15 to fatally shoot armed intruder,”



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 1   NBCNews.com (Nov. 4, 2019), https://perma.cc/TW7N-QN44. Or a man in Glen St.

 2   Mary, Florida, who defended himself and his home with an AR-15 against seven

 3   armed intruders, discharging 30 rounds in the process. Garrett Pelican, “Deputies:

 4   30 rounds fired from AR-15 in deadly Florida home invasion,” New4Jax.com (Apr. 17,

 5   2018), https://perma.cc/RE7J-8XDS.

 6           Governor Inslee’s comments would also come as a surprise to the significant

 7   number of police departments that equip their officers with AR-15s and other “assault

 8   weapons.” Police Executive Research Forum, Police Department Service Weapon

 9   Survey 2 (2013) (“Ninety-three percent of responding agencies equip some of their

10   officers    with        rifles   or   assault   weapons.”),        https://perma.cc/5AMT-WNGN.

11   Presumably, departments don’t equip their officers with a weapon that has “no reason

12   other than mass murder.”

13           A Massachusetts police training manual describes the utility of such weapons

14   for the lawful defense of self and others. The weapons are used “due to the increased

15   accuracy that the rifle afforded over the pistol and the shotgun.” Massachusetts

16   Municipal Police Training Committee, Basic Firearms Instructor Course: Patrol Rifle

17   3 (Sept. 2007), https://perma.cc/6HMQ-QS7W. The weapons are useful because the

18   department “found most officers have difficulty hitting the MPTC Q target with

19   regularity using their service pistol at distances further than the 10-yard line,” and

20   when you “factor in the stress level of a life and death encounter with rapidly evolving

21   circumstances—the actual hit ratio drops even further.” Id. Ordinary citizens who

22   aren’t as extensively trained would of course suffer from similar difficulties.



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 1   Moreover, rather than being a distinctly powerful rifle, “the most popular patrol rifle

 2   round, the 5.56mm NATO (.223 Remington) will penetrate fewer walls than service

 3   pistol rounds or 12-gauge slugs,” thus lowering the possibility of accidents. Id. In

 4   short, “[t]he rifle is a superior tool” for law enforcement officers in many situations.

 5   Id. Law-abiding citizens use the rifles for the same purposes.

 6           Under the Supreme Court’s test articulated in Heller and expanded on in

 7   Bruen, MSRs are in common use for lawful purposes. While the government will point

 8   to crimes being committed with MSRs, that criminals misuse weapons for horrible

 9   crimes does not negate the millions of people who use the guns responsibly and

10   legally. The question the Supreme Court has directed courts to ask is whether the

11   weapons are “typically possessed by law-abiding citizens for lawful purposes.” Heller,

12   554 U.S. at 625 (emphasis added).

13       B. The Arms Singled Out by Washington’s Ban Are Standard
14          Semiautomatic Rifles with Characteristics that Make Them More
15          Effective for Lawful Uses

16           As discussed above, a type of weapon that outnumbers one of the most popular

17   cars in the country should be considered in “common use.” Yet while the raw numbers

18   show that Washington’s ban targets commonly used weapons, the banned guns

19   should be considered part of an even bigger category of weapons—semiautomatic

20   rifles—that are even more commonly used. The proper category for constitutional

21   analysis is not simply so-called “assault weapons” or “modern sporting rifles”—or

22   whatever rhetoric is used to define the category—but whether the prohibited weapons

23   have characteristics that make them uniquely suitable for unlawful purposes and

24   unsuitable for lawful purposes.

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 1           While the term “assault weapon” is a gun-control advocate’s rhetorical

 2   invention, see, Blake, supra, amici acknowledge that the term “modern sporting rifle”

 3   is also a rhetorical invention used to counter the erroneous term “assault weapon.”

 4   The important question for Second Amendment analysis is whether such terms

 5   articulate a constitutionally relevant category of firearms that is not in “common use”

 6   for lawful purposes. Mere rhetoric can’t trump constitutional text or the Supreme

 7   Court’s interpretation of that text. To determine whether a certain firearm is

 8   commonly used for lawful purposes, the firearm should be properly defined with

 9   relevant characteristics.

10           For example, a semiautomatic rifle that is painted hot pink would not be

11   considered “in common use” if the color is regarded as a salient feature (based on the

12   presumably safe assumption that relatively few people own hot pink semiautomatic

13   rifles). Yet a ban on a certain color of weapon should not survive even rational basis

14   review—a standard of review much lower than the Supreme Court has dictated for

15   the Second Amendment. Bruen, 142 S. Ct. 2127–28. This only underscores the

16   obvious fact that the function of any feature singled out for prohibition is relevant to

17   analyzing a law. In other words, the Second Amendment prohibits the government

18   from inventing a category of weapons—e.g. “hot pink semiautomatic rifles”—and then

19   declaring such weapons are not in “common use.” More is required to clear the Second

20   Amendment’s hurdle.

21           Washington’s ban is not so transparently cosmetic as to ban certain colors of

22   weapons, yet the ban focuses on characteristics that are either mostly cosmetic or



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 1   characteristics that make the gun more effective for lawful uses. For example, Section

 2   (iv)(D) bans semiautomatic rifles that accept detachable magazines that have a

 3   forward pistol grip, described as a “[f]orward pistol, vertical, angled, or other grip

 4   designed for by the nonfiring hand to improve control.” S.H.B. 1240 § (iv)(D)

 5   (emphasis added). The odd implication here is that law-abiding citizens should

 6   apparently have guns that are less easy to control, while criminals evidently prefer

 7   more accurate guns. Similarly, Section (iv)(F) bans semiautomatic rifles with a

 8   “[m]uzzle brake, recoil compensator, or any item designed to be affixed to the barrel

 9   to reduce recoil or muzzle rise.” S.H.B. 1240 § (iv)(F). Again, reducing recoil and

10   muzzle rise makes the weapon more accurate. The law also bans semiautomatic rifles

11   with pistol grips, defined as “[a] grip that is independent or detached from the stock

12   that protrudes conspicuously beneath the action of the weapon.” S.H.B. 1240 § (iv)(D).

13   Such grips help the shooter pull the weapon comfortably against his/her shoulder for

14   better control. Halbrook, America’s Rifle, supra, at 14. Any law-abiding gun owner

15   cares about accuracy because shooting an inaccurate gun is both dangerous to others

16   and relatively ineffective for law-abiding uses.

17           It’s an interesting world Washington wants to bring about: a world where

18   criminals who acquire and use the banned guns are better equipped with more

19   accurate guns than law-abiding citizens. If a law-abiding citizen diligently obeys the

20   Washington ban, they will be deprived of more accurate and effective weapons for

21   authorized purposes like self-defense, hunting, target shooting, and defense against




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 1   oppressive government. A criminal who chooses to disobey the ban—as a criminal is

 2   more likely to do—will have a more effective weapon for criminal activities.

 3           Rather than identifying uniquely dangerous characteristics for prohibition,

 4   Washington’s ban singles out aspects that help make a standard semiautomatic rifles

 5   more reliable, accurate, and comfortable for law-abiding users.

 6       III.    “Modern Sporting Rifles” Are Not “Dangerous and Unusual”
 7               Compared to Other Common Firearms

 8           As described above, the Supreme Court has been clear that weapons that are

 9   commonly owned by law-abiding citizens for lawful purposes cannot be banned under

10   the Second Amendment. Weapons that can be banned are those that are “dangerous

11   and unusual,” which also means they are not in common use for law abiding purposes.

12   Bruen, 142 S. Ct. at 2143; Heller, 554 U.S. at 627 (emphasis added). MSRs are normal,

13   commonly owned semiautomatic rifles that are neither dangerous nor unusual.

14           MSRs are semiautomatic—or “self-loading”—meaning they discharge a single

15   shot per trigger pull and the next round loads into the chamber without any

16   intervening action—such as cocking—by the user, at least until the gun jams or the

17   ammunition is depleted. Some activists and judges have claimed that a

18   semiautomatic rifle like the AR-15 can fire at essentially the same rate as a fully

19   automatic machine gun. See, e.g., Kolbe, 849 F.3d at 136 (claiming that the firing rate

20   of the AR-15 is “nearly identical” to a fully automatic M-16). This is false and doesn’t

21   stand up to cursory scrutiny. To fire 300 to 500 rounds in a minute, as a fully

22   automatic M-16 can do, a shooter would have to pull the trigger five to eight times a

23   second for 60 seconds, something beyond the capabilities of the human body. E.


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 1   Gregory Wallace, “Assault Weapon” Lethality, 88 Tenn. L. Rev 1, 20 (2020). Rather

 2   than being uniquely dangerous, “[t]here is little if any difference between the rates of

 3   fire for the semiautomatic AR-15 and a semiautomatic handgun.” Id. at 25.

 4           While it is difficult to estimate how many semiautomatic weapons there are in

 5   the country, they are extremely common and equally—rather than uniquely—

 6   dangerous. Most pistols are semiautomatic, as is any rifle that is not single shot, bolt

 7   action, lever action, slide action, or pump action, which are the most common forms

 8   of non-semiautomatic rifle. The total number of semiautomatics is likely more than

 9   200 million, and all can fire as quickly as the user can pull the trigger.

10           Nor are the rounds fired from an MSR uniquely dangerous compared to other

11   commonly owned weapons, despite numerous claims to the contrary. See, e.g., Glenn

12   Kessler, “Biden bungled talking point on the muzzle velocity of AR-15s,” Wash. Post

13   (Sept. 2, 2022), (noting that President Biden was “clearly wrong” in his claim that

14   AR-15s fire five times faster than any other gun), https://tinyurl.com/jjxx3s6t. In fact,

15   the round that most MSRs fire, the .223 Remington, is considered by many states to

16   be too weak to hunt deer because the round will only cruelly injure rather than kill

17   the animal. Wallace, “Assault Weapon” Lethality, supra at 54. Military analysts have

18   long complained that the near-identical military analog of the .223 Remington—

19   5.56x45mm NATO, which is used in the military’s M-16 and M-4 rifles—is

20   insufficient to use in combat because it is based off “a commercial Remington rifle

21   cartridge that had been designed to kill small varmints.” Robert H. Scales, “Gun

22   Trouble,” Atlantic (Jan./Feb. 2015), https://tinyurl.com/bddah2n2.



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 1           When looking at crime rates, MSRs are also not uniquely dangerous. As

 2   mentioned supra, according to the National Shooting Sports Foundation (NSSF),

 3   there are approximately 24.4 million MSRs in the country, which is about 6 percent

 4   of all weapons, including both rifles and handguns. Commonly Owned, supra;

 5   Christopher Ingram, “There are more guns than people in the United States,

 6   according to a new study of global firearm ownership,” Wash. Post (June 19, 2018),

 7   https://tinyurl.com/3k9vunum. MSRs are a subset of rifles, and it is difficult to

 8   estimate how many rifles there are in the country because there are few updated

 9   statistics and gun owners don’t like to tell the government what they have.

10   Nevertheless, a 2012 estimate found 110 million rifles out of the approximately 310

11   million total guns at the time, or 35 percent. William J. Krouse, “How Many Guns

12   Are    in    the        United   States?—Number,”      U.S.     Cong.         Res.      Serv.       (2012),

13   https://tinyurl.com/bdf5dhkr. Although there is a paucity of recent numbers, it is

14   reasonable to assume that the ratio of 35 percent would hold true just over a decade

15   later. Currently, it’s estimated that there are approximately 400 million guns in the

16   country, meaning approximately 140 million rifles. Ingram, supra. The NSSF

17   estimate of 24.4 million MSRs would equate to about 17 percent of all rifles.

18           Rifles, in general, are used in very few crimes. In 2019, according to FBI crime

19   statistics, rifles of any kind—of which MSRs are a subset—were used to kill 364

20   people.1 Handguns killed 6,368. FBI, “2019 Crime in the United States: Expanded



     1 2019 is the most recent year there is a reliable breakdown of weapons used in
     crime. The FBI changed how it tracks crime data starting in 2020, and “[l]aw
     enforcement agencies covering just over half of the population reported a full year’s

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 1   Homicide        Data    Table   8—Murder        Victims        by      Weapon     2015–2019,”

 2   https://tinyurl.com/33vcyyfd. In the four previous years, starting in 2015, rifles killed

 3   215, 300, 389, and 305 people, respectively, and handguns in those years killed a

 4   similar number, between 6,000–7,000. Id. Each of those years, about 1,500 people

 5   were killed with “knives and cutting instruments,” and around 600–700 were killed

 6   with “personal weapons” such as fists and feet. Id.

 7           While the data are not deep enough to determine how many murders with

 8   rifles were committed with MSRs, it’s reasonable to assume something around 17

 9   percent, the same ratio of MSRs to total rifles. That would be 62 murders. If we double

10   that percentage and round up—40 percent of murders with rifles were perpetrated

11   with MSRs—then we get 146 murders.

12           One hundred and forty-six has to be looked at comparatively and with the

13   question of whether the data show the guns are uniquely dangerous.

14           In 2019, there were 10,258 total homicides with firearms. Assuming the higher

15   estimate of how many murders were caused by MSRs—146—means that 1.4 percent

16   of murders in 2019 were perpetrated with MSRs. With 24.4 million MSRs and

17   approximately 146 murders, and assuming one gun per homicide, means that around

18   0.000006 percent of MSRs are used to kill.

19           Of course, raw numbers of crimes committed don’t entirely explain whether a

20   type of firearm can be considered uniquely dangerous. Some firearms may have



     worth of data to the FBI in 2021.” Ames Grawert & Noah Kim, “Understanding the
     FBI’s 2021 Crime Data,” Brennan Ctr. for Justice (Oct. 4, 2022),
     https://tinyurl.com/bdezhk29.

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 1   particularly lethal capabilities and are essentially never used for crime. A grenade

 2   launcher, for example, is a bearable arm that is distinct in how it operates—a wide

 3   explosion rather than a targeted bullet—and amici were unable to find one instance

 4   of a crime being committed with the weapon. That is one reason the Supreme Court’s

 5   test is conjunctive—“both dangerous and unusual,” Caetano, 577 U.S. at 417 (Alito,

 6   J., concurring in the judgment)—and why the “common use” test makes conceptual

 7   sense.

 8            MSRs are both extremely commonly used for lawful purposes and neither

 9   dangerous nor unusual, thus meriting the full protection of the Second Amendment.

10                                    V.   CONCLUSION

11            For the forgoing reasons, S.H.B. 1240 unconstitutionally bans firearms that

12   are commonly used by law-abiding persons for lawful reasons. The Court should grant

13   the Plaintiffs’ preliminary injunction and preserve Washingtonians’ constitutional

14   rights.

15            DATED: Friday, May 19, 2023.

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